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                         UNITED STATES DISTRICT COURT

                           DISTRICT OF SOUTH DAKOTA

                                 SOUTHERN DIVISION


  UNITED STATES OF AMERICA,                               4:22-40046-KES

                    Plaintiff,
                                                ORDER ADOPTING REPORT &
        vs.                                     RECOMMENDATION DENYING
                                                   MOTION TO SUPPRESS
  ANTOINE RAY THOMAS,

                    Defendant.


       Defendant, Antoine Thomas, is charged with two counts of conspiracy to

 distribute a controlled substance, methamphetamine and fentanyl, 21 U.S.C.

 §§ 841(a)(1) and 846, and one count of possession of a firearm by a prohibited

 person in violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2). Docket 112. Thomas

 moves to suppress evidence and statements obtained as a result of the traffic

 stop leading to his arrest. Docket 106. He contends that the seizure of his

 vehicle was conducted without probable cause and the initial stop was

 unlawfully extended in violation of the Fourth Amendment. Id. He further

 argues that the search of his vehicle was conducted in violation of the Fourth

 Amendment. Id. Finally, Thomas asserts that his Fifth Amendment rights were

 violated because he was interrogated while in custody without receiving

 Miranda advisement. Id.

       The court referred Thomas’s motion to Magistrate Judge Veronica Duffy

 under 28 U.S.C. § 636(b)(1)(B). After holding an evidentiary hearing, Magistrate
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 Judge Duffy recommended denying Thomas’s motion to suppress. Docket 108;

 Docket 110 at 33. Thomas objects to the Report and Recommendation. Docket

 111. After a de novo review of the Report and Recommendation and the record,

 the court adopts the Report and Recommendation and denies Thomas’s motion

 to suppress.

                                LEGAL STANDARD

       This court’s review of a magistrate judge’s report and recommendation is

 governed by 28 U.S.C. § 636 and Rule 59 of the Federal Rules of Criminal

 Procedure. The court reviews de novo any objections to the magistrate judge’s

 recommendations with respect to dispositive matters that are timely made and

 specific. 28 U.S.C. § 636(b)(1); Fed. R. Crim. P. 59(b). Because motions to

 suppress evidence are considered dispositive matters, a magistrate judge’s

 recommendation regarding such a motion is subject to de novo review. 28

 U.S.C. § 636(b)(1); see also United States v. Raddatz, 447 U.S. 667, 673 (1980).

 In conducting a de novo review, this court may then “accept, reject, or modify,

 in whole or in part, the findings or recommendations made by the magistrate

 judge.” 28 U.S.C. § 636(b)(1); see also United States v. Craft, 30 F.3d 1044,

 1045 (8th Cir. 1994).

                                      FACTS

       After a de novo review of the transcript of the evidentiary hearing and the

 exhibits received into evidence, the court adopts the facts as set forth in the

 Report and Recommendation. Thomas did not file any objections to the facts.




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                                     DISCUSSION

       Thomas raises four objections to the Report and Recommendations.

 Docket 111. First, Thomas objects to the magistrate judge’s recommendation

 that the stop of Thomas’s vehicle was constitutional because VanVoorst had

 probable cause. Id. at 1–2. Second, Thomas objects to the recommendation

 that the seizure of Thomas’s vehicle was not unconstitutionally extended. Id. at

 2. Third, Thomas objects to the recommendation that the search of his vehicle

 was constitutional. Id. at 2–3. Fourth, Thomas objects to the recommendation

 that he was not in custody when he was interrogated. Id. at 3–4. The court

 considers each objection in turn.

 I.    Whether VanVoorst had probable cause to stop Thomas’s vehicle

       The Fourth Amendment of the United States Constitution forbids

 “unreasonable searches and seizures.” U.S. Const. amend. IV. “A traffic stop for

 a suspected violation of law is a ‘seizure’ of the occupants of the vehicle and

 therefore must be conducted in accordance with the Fourth Amendment.”

 Heien v. North Carolina, 574 U.S. 54, 60 (2014) (citing Brendlin v. California,

 551 U.S. 249, 255-59 (2007)). The Supreme Court has held that an officer may

 conduct an investigatory stop “when a law enforcement officer has ‘a

 particularized and objective basis for suspecting the particular person stopped

 of criminal activity.’ ” See Navarette v. California, 572 U.S. 393, 396 (2014)

 (quoting United States v. Cortez, 449 U.S. 411, 417-18 (1981)). “[T]he Fourth

 Amendment only requires that police articulate some minimal, objective

 justification for an investigatory stop.” United States v. Tamayo-Baez, 820 F.3d

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 308, 312 (8th Cir. 2016). Courts “must look at the ‘totality of the

 circumstances’ of each case to see whether the detaining officer has a

 ‘particularized and objective basis’ for suspecting legal wrongdoing.” United

 States v. Arvizu, 534 U.S. 266, 273 (2002). “A traffic violation, no matter how

 minor, gives probable cause for a traffic stop.” Wood v. Wooten, 986 F.3d 1079,

 1081 (8th Cir. 2021).

       Thomas argues VanVoorst did not have probable cause to stop his

 vehicle because VanVoorst “decided that he was going to pull over Mr.

 Thomas’s vehicle before the turn began.” Docket 111 at 1. But the

 constitutionality of a traffic stop does not “depend[] on the actual motivations

 of the individual officers involved,” so long as some basis exists. Whren v.

 United States, 517 U.S. 806, 813 (1996). Thus, the operative question is not

 whether VanVoorst intended to pull over Thomas’s vehicle, but rather whether

 VanVoorst’s testimony that he observed Thomas’s vehicle complete a wide turn

 is sufficient to establish probable cause.

       On this point, Thomas contends that VanVoorst “did not observe [his

 vehicle] enter the lane illegally” because there was enough time for Thomas’s

 vehicle to enter the inside lane and then merge into the outside lane. Docket

 111 at 1. But even if there was adequate time for the turn to be completed

 legally, this does not negate VanVoorst’s testimony that he saw Thomas’s

 vehicle enter the far lane early. Docket 108 at 6–7, 15. Thomas may have had

 time to complete his turn and then change lanes, but Thomas made a wide

 turn. Thomas also argues that VanVoorst could not have observed the wide

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 turn because of rain and low visibility. Docket 111 at 1. But Thomas’s vehicle

 can clearly be seen turning left in the dashcam footage from VanVoorst’s patrol

 car. Ex. 1, Clip 1 at 00:27. The footage lacks the necessary depth perception to

 conclusively show what lane Thomas turned into, but it clearly depicts

 Thomas’s vehicle, demonstrating that it was possible for VanVoorst to view the

 turn despite the visibility problems. See id. Thomas further asserts that

 VanVoorst did not observe the turn because his attention would “obviously

 [have been] focused on maintaining a distance from the vehicle in front of him

 while simultaneously gaining speed to make his turn.” Docket 111 at 1.

 VanVoorst testified, however, that he was looking for a reason to pull over

 Thomas’s vehicle. Docket 108 at 26. Thus, his attention would have been

 directed in part at Thomas’s vehicle. An experienced officer would likely be able

 to observe Thomas’s vehicle while completing a routine left turn, even

 separated by the Toyota Tundra.

       Thomas also maintains VanVoorst did not have probable cause because

 no other vehicle was using the outside lane, and thus vehicle traffic was

 unaffected by the wide turn. But the plain language of SDCL § 32-26-18

 requires a driver to turn into “the extreme left-hand lane lawfully available,”

 irrespective of traffic conditions. Moreover, although Thomas was cited under

 SDCL § 32-26-6 and not § 32-26-18, Magistrate Judge Duffy adequately




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 addressed why probable cause existed for the stop despite the mismatch

 between citation and conduct. Docket 110 at 19.

       VanVoorst’s testimony that he observed Thomas make an illegal wide

 turn is sufficient under the totality of the circumstances to show he had

 probable cause to stop Thomas. Thomas’s objection is overruled.

 II.   Whether the stop was unconstitutionally extended

       A traffic stop should only last long enough to complete the purpose of the

 stop. Rodriguez v. United States, 575 U.S. 348, 354 (2015). Although the

 primary purpose of a traffic stop is to “address the traffic violation that

 warranted the stop,” officers may also conduct “incident[al]” inquiries such as

 running a warrant check on the driver and inspecting the driver’s license,

 registration, and proof of insurance. Id. at 354–55. Absent reasonable

 suspicion that other criminal activity is afoot, an officer’s authority for

 conducting a traffic stop “ends when tasks tied to the traffic infraction are—or

 reasonably should have been—completed.” Id. at 354. But when an officer

 “discovers information leading to reasonable suspicion of an unrelated crime,”

 he or she “may extend the stop and broaden the investigation.” United States v.

 Woods, 829 F.3d 675, 679 (8th Cir. 2016).

       VanVoorst testified that upon approaching Thomas’s vehicle, he smelled

 marijuana. Docket 108 at 8. Although Thomas disputes VanVoorst’s testimony

 that he smelled marijuana, Docket 111 at 2, the court finds VanVoorst’s

 testimony credible both because of the large quantity of raw marijuana found

 in Thomas’s vehicle, and the corroborating testimony of Patrol Officers Tanner


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 Pollema and Richard Horn. Docket 108 at 67, 91. VanVoorst’s credibility on

 this issue was sufficiently discussed by Magistrate Judge Duffy. The court

 finds that based on VanVoorst’s testimony regarding the smell of marijuana, he

 had probable cause to extend the stop and investigate. See United States v.

 Smith, 789 F.3d 923, 928 (8th Cir. 2015).

        Thomas also argues that because VanVoorst did not mention the

 marijuana smell on the narcotics line, the call VanVoorst made when he

 returned to his patrol vehicle extended the stop and was not a part of the

 alleged new marijuana investigation. Docket 111 at 2. But the body camera

 footage from the time VanVoorst returned to his patrol vehicle depicts the

 steering wheel and not his computer, and thus is not inconsistent with

 VanVoorst’s testimony that he “did two thing at once” by running Thomas’s

 name through the NCIS database while speaking over the radio. Ex. 1, Clip 2,

 20:13:11; Docket 108 at 34.

        The evidence is sufficient under the totality of the circumstances to

 demonstrate that VanVoorst did not unconstitutionally extend the traffic stop.

 Thomas’s objection is overruled.

 III.   Whether probable cause existed to search Thomas’s vehicle

        “Although a warrantless search usually constitutes a per se Fourth

 Amendment violation, the automobile exception to the Fourth Amendment’s

 warrant requirement permits the warrantless search or seizure of a vehicle by

 officers possessing probable cause to do so.” United States v. Soderman, 983

 F.3d 369, 375 (8th Cir. 2020). “If an officer develops probable cause that

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 contraband may be found in the vehicle, then it is reasonable for the officer to

 search the vehicle without a warrant.” United States v. Hernandez-Mendoza,

 600 F.3d 971, 975 (8th Cir.), as amended (July 7, 2010), opinion amended on

 denial of reh’g, 611 F.3d 418 (8th Cir. 2010).

       Here, VanVoorst’s testimony that he smelled marijuana at the beginning

 of the stop provided reasonable suspicion to extend the stop. Docket 108 at 8;

 see United States v. Williams, 955 F.3d 734, 737 (8th Cir. 2020)(“[The Eighth

 Circuit has] repeatedly held that the odor of marijuana provides probable cause

 for a warrantless search of a vehicle under the automobile exception.”); United

 States v. Milk, 66 F.4th 1121, 1131 (8th Cir. 2023).

       Thomas argues that VanVoorst’s testimony is not credible because he did

 not inform the other officer over the narcotics radio channel that he smelled

 marijuana when he returned to his patrol vehicle. Docket 111 at 3. But

 VanVoorst testified that to do so at that time was unnecessary. Docket 108 at

 49. This court finds the testimony of the other officers and presence of a large

 quantity of raw marijuana in the car sufficient to support VanVoorst’s

 testimony.

       Thomas also contends that the corroborating testimony of Officer

 Pollema and Officer Horn should not bolster VanVoorst’s testimony because

 they did not make contemporaneous statements about the smell of marijuana

 at the scene or note the “identification of evidence” in their reports. Docket 111

 at 3. The court finds that Pollema’s failure to note in his report that it was

 VanVoorst who first alerted him to the smell of marijuana does not render his

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 testimony not credible. Pollema testified that he wrote “what [he] smelled and

 observed,” despite not including this part of his conversation with VanVoorst.

 Docket 108 at 72. The court further agrees with Magistrate Judge Duffy that it

 is unlikely all three officers would perjure themselves. Docket 110 at 23.

 Instead, the court finds that each of their testimony corroborates the others’

 testimony.

          Under the totality of the circumstances the evidence is sufficient to

 demonstrate that VanVoorst had probable cause to search Thomas’s vehicle.

 Thomas’s objection is overruled.

    IV.      Whether Thomas’s statements made to police should be
             suppressed because he was not given Miranda advisement

          In her report and recommendation, Magistrate Judge Duffy thoroughly

 analyzed the law regarding whether a person is subject to custodial

 interrogation prior to receiving Miranda rights and thus whether a person’s

 statement should be suppressed. Id. at 26. The court adopts Magistrate Judge

 Duffy’s summary of the law and will only expand on the law relevant to the

 objections raised.

          Thomas objects to Magistrate Judge Duffy’s finding that the statement

 Thomas seeks to have suppressed was made during a valid Terry stop, and

 that Thomas was not in custody within the meaning of Miranda. Docket 111 at

 3–4. Thomas correctly observes that whether the seizure of Thomas was a Terry

 stop is a “different question than whether Miranda is required.” Id. at 4. While

 a Terry or traffic stop may not typically require that Miranda warnings be given,

 Miranda warnings before interrogation are required if “at any time between the

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  initial stop and the arrest, [the suspect is] subjected to restraints comparable

  to those associated with a formal arrest.” Berkemer v. McCarty, 468 U.S. 420,

  421 (1984). In determining whether the suspect was subjected to such

  restraints, the “only relevant inquiry” is how a “reasonable person” would have

  understood the situation under the totality of the circumstances “confront[ing]

  the defendant at the time of questioning.” United States v. Czichray, 378 F.3d

  822, 826 (8th Cir. 2004).

        The court finds that a reasonable person would not view the defendant

  as subject to restraints comparable to a formal arrest at the time of

  questioning. Thomas was not handcuffed, he was free to move about, he “had

  not been told his detention would be anything other than temporary,” and the

  questions were “limited in number and scope.” United States v. Coleman, 700

  F.3d 329, 336 (8th Cir. 2012) (holding that a suspect seated in front seat of

  officer’s patrol car following traffic was stop not in custody). Thus, the court

  finds that Thomas was not in custody at the time he was questioned.

        The evidence is sufficient under the totality of the circumstances to show

  that Thomas was not in custody at the time he was subject to interrogation.

  Thus, Thomas’s objection is overruled.

                                    CONCLUSION

        Because there is no constitutional violation, the court declines to

  suppress any evidence gathered as a result of the traffic stop. The court adopts

  Magistrate Judge Duffy’s recommendation and denies Thomas’s motion to

  suppress. Thus, it is

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        ORDERED that the Report and Recommendation (Docket 110) denying

  Thomas’s motion to suppress is adopted. The motion to suppress (Docket 106)

  is denied.

        Dated October 27, 2023.

                                     BY THE COURT:



                                     /s/ Karen E. Schreier
                                     KAREN E. SCHREIER
                                     UNITED STATES DISTRICT JUDGE




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